
SWING, J.
This cause is in this court on error to the judgment of the court of common pleas. The error relied'on is that the judgment is not sustained by the evidence.
Gano was sued by Emerson and others on a subscription for the purpose of procuring the building of a street railway to the village of College Hill. The subscription by Gano had conditions attached to it, and it was contended by him that these conditions had not been complied with, and that furthermore no notice was ever given him of the acceptance of this subscription as made. The court of common pleas found that at the commencement of the action the conditions had not been complied with, and dismissed the action without prejudice to the bringing of a new action when the condition» were complied with.
We do not think it was necessary to notify Gano of the acceptance of his subscription. It was like any other subscription-valid when complied with, and no acceptance was necessary.
As to whether the conditions were complied with, we are of the opinion that they were substantially complied with. Upon the payment of ten cents a passenger was entitled to transfers to all lines in the city; those not desiring transfer» were entitled to ride to the terminus at the named rate of eight cents. There was nothing unreasonable in this, and it was at a less rate of fare than Gano expected to pay, as shown by his own letters.
The judgment should be reversed on the ground that it i» not sustained by the evidence and remanded for further proceedings.
